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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                        :      Chapter 11
                                                         :
Heritage Home Group, Inc., et al.                        :      Case No. 18-11736 (KG)
                                                         :
                                                         :      Jointly Administered
                                                         :      NOTICE OF APPOINTMENT OF
          Debtor(s).                                     :      COMMITTEE OF UNSECURED
----------------------------------                       :      CREDITORS



       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 FBI Wind Down Inc. Liquidating Trust, Attn: Alan Halperin, Halperin Battaglia Raicht,
                   LLP, 40 Wall Street, 37th Floor, New York, NY 10005, Phone: 212-765-9100,
                   Fax: 212-765-0964

2.                 Hickory Spring Manufacturing Company, Attn: Donald Simpson, 235 2nd Avenue,
                   Hickory, NC 28603, Phone: 828-328-2201, Ext. 2261, Fax: 828-328-2103

3.                 EKH Furniture Industries, Attn: Alejandro Tovar, Crescencio Garin #5035, Zapopan,
                   Jalisco, Mexico 45199, Phone: 52-33-3861-9494, Ext. 107

4.                 Piedmont Packaging, Attn: Brad Wallace, 1141 Foust Ave, High Point, NC 27260, Phone:
                   336-886-4180, Fax: 336-886-4549

5.                 International Market Centers, LLC, Attn: Kim Rieck, 475 S. Grand Central Parkway,
                   Suite 1615, Las Vegas, NV 89106, Phone: 702-599-3305, Fax: 702-599-9549




                                                 ANDREW R. VARA
                                                 Acting United States Trustee, Region 3


                                                 /s/ Linda Richenderfer for
                                                 T. PATRICK TINKER
                                                 ASSISTANT UNITED STATES TRUSTEE

DATED: August 8, 2018

Attorney assigned to this Case: Linda Richenderfer, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: Kenneth Enos, Esq., Phone: 302-571-6000, Fax: 302-571-1253
